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  1   ANNETTE L. HURST (State Bar No. 148738)
      ahurst@orrick.com
  2   WARRINGTON S. PARKER III (State Bar No. 148003)
      wparker@orrick.com
  3   ORRICK, HERRINGTON & SUTCLIFFE LLP
      The Orrick Building
  4   405 Howard Street
      San Francisco, CA 94105
  5   Telephone: 415-773-5700
      Facsimile: 415-773-5759
  6
      WILLIAM A. MOLINSKI (State Bar No. 145186)
  7   wmolinski@orrick.com
      ORRICK, HERRINGTON & SUTCLIFFE LLP
  8   777 South Figueroa Street, Suite 3200
      Los Angeles, CA 90017
  9   Telephone: 213-629-2020
      Facsimile: 213-612-2499
10
      THOMAS S. MCCONVILLE (State Bar No. 155905)
11    tmcconville@orrick.com
      ORRICK, HERRINGTON & SUTCLIFFE LLP
12    4 Park Plaza, Suite 1600
      Irvine, CA 92614-2258
13    Tel: (949) 567-6700/Fax: (949) 567-6710
14    Attorneys for MGA Parties
15                            UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                 SOUTHERN DIVISION
18    CARTER BRYANT, an individual         Case No. CV 04-9049-DOC (RNBx)
                                           Consolidated with CV 04-9059 and
19               Plaintiff,                CV 05-2727
20         v.                              Hon. David O. Carter
21    MATTEL, INC., a Delaware
      corporation,                         THE MGA PARTIES’ REQUEST FOR
22                                         JUDICIAL NOTICE OF
                 Defendant.                TRADEMARK APPLICATIONS AND
23                                         STATUS REPORTS FOR “BRATZ”
                                           TRADEMARKS PRIOR TO 2000
24
      AND CONSOLIDATED ACTIONS
25
26
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28
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  1         Pursuant to Federal Rule of Evidence 201, Counter-defendants MGA
  2   Entertainment, Inc., MGAE de Mexico S.R.L. de C.V., MGA HK Ltd., and Isaac
  3   Larian (collectively, the “MGA Parties”) respectfully request that the Court take
  4   judicial notice of (a) facts reflected in trademark applications and status reports
  5   from the United States Patent and Trademark Office (“PTO”) and Louisiana
  6   Secretary of State for “Bratz,” “Brats,” and “Brat” trademark applications filed and
  7   publicly available before 2000 and (b) the applications and status reports.
  8         The Court may take judicial notice of any fact that is “not subject to
  9   reasonable dispute in that it is either (1) generally known within the territorial
10    jurisdiction of the trial court or (2) capable of accurate and ready determination by
11    resort to sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
12    201(b); see United States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (“Facts are
13    indisputable, and thus subject to judicial notice, only if they are either ‘generally
14    known’…or ‘capable of accurate and ready determination by resort to sources
15    whose accuracy cannot be reasonably questioned . . . . ’”). A court shall take
16    judicial notice if requested by a party and supplied with the necessary information.
17    Fed. R. Evid. 201(d).
18          The facts that are the subject of this request are capable of accurate and ready
19    determination by sources whose accuracy cannot reasonably be questioned. The
20    facts in question are recorded in or established by filings with the PTO or the
21    Louisiana Secretary of State. Pursuant to Rule 201(d), the MGA Parties are
22    submitting (1) copies of trademark applications for various “Bratz,” “Brats,” and
23    “Brat” trademarks that were submitted to the PTO and the Louisiana Secretary of
24    State and publicly available before 2000; (2) printouts from the Trademark
25    Applications and Registrations Retrieval (“TARR”) web server of the PTO
26    (tarr.uspto.gov) regarding the status of the applications, and (3) registration
27    information from the Louisiana Secretary of State.
28
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  1         A federal court may take judicial notice of public records, including PTO
  2   records. See United States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (courts
  3   may take judicial notice of public records); MGIC Indem. Corp v. Weisman, 803
  4   F.2d 500, 504 (9th Cir. 1986); Vitek Systems, Inc. v. Abbott Laboratories, 675 F.2d
  5   190, 192 n.4 (8th Cir. 1982) (a court may take judicial notice of documents filed
  6   with the U.S. Patent and Trademark Office); Kaempe v. Myers, 367 F.3d 958, 965
  7   (D.C. Cir. 2004); Denius v. Dunlap, 330 F.3d 919, 926 (7th Cir. 2003) (taking
  8   judicial notice of information on official government website pursuant to Rule 201).
  9   Judicial notice of the PTO and Louisiana Secretary of State records allows the
10    Court to take notice of certain facts either set forth in or established by the records
11    because they show that the facts are “capable of accurate and ready determination
12    by resort to sources whose accuracy cannot be reasonably questioned.”
13          The MGA Parties request that the Court take judicial notice of the following
14    pursuant to Rule 210(b) and (d):
15          1. On or about November 25, 1991, Cammeron Jordan of Beverly Hills,
16    California filed an application for the registration of BEVERLY HILLS BRATZ
17    as a trademark for “dolls and dolls’ accessories and dolls’ clothing” in International
18    Class 28. See Exhibit 1 (certified copy of application for BEVERLY HILLS
19    BRATZ; Serial No. 74225219; Trademark Application 74/225,219; filed on
20    November 25, 1991) (Trial Exhibit 34814).
21          2. No later than January 27, 1992, Trademark Application 74/225,219 was
22    available to the general public in the files of the PTO.
23          3. Exhibit 1.
24          4. As of April 26, 1995, the application of Cammeron Jordan for the
25    registration of BEVERLY HILLS BRATZ as a trademark for “dolls and dolls’
26    accessories and dolls’ clothing” in International Class 28 was abandoned. See
27    Exhibit 2 (printout from TARR web server regarding status of Serial No.
28    74225219; generated on January 5, 2011) (Trial Exhibit 34511).
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  1         5. Exhibit 2.
  2         6. On or about May 4, 1999, Pangea Corporation of Dana Point, California
  3   filed an application for the registration of BRAT BOARDS as a trademark for
  4   “games, toys, and playthings” in International Class 28. See Exhibit 3 (copy of
  5   application for BRAT BOARDS; Serial No. 75699609; Trademark Application
  6   75/699,609; filed on May 4, 1999) (Trial Exhibit 34823).
  7         7. No later than July 6, 1999, Trademark Application 75/699,609 was
  8   available to the general public in the files of the PTO.
  9         8. Exhibit 3.
10          9. As of April 6, 2000, the application of Pangea Corporation for the
11    registration of BRAT BOARDS as a trademark for “games, toys, and playthings”
12    in U.S. Class 22 and International Class 28 was abandoned. See Exhibit 4 (printout
13    from TARR web server regarding status of Serial No. 75699609; generated on
14    January 5, 2011) (Trial Exhibit 34548).
15          10. Exhibit 4.
16          11. On or about April 16, 1998, Rodney E. Cliff of Sunrise, Florida filed an
17    application for the registration of BRAT PACK AND DESIGN as a trademark for
18    “Childrens Doll/Back Packs, Childrens Clothing, Childrens Coloring Booksgames,
19    toys, and playthings” in International Class 28. See Exhibit 5 (copy of application
20    for BRAT PACK AND DESIGN; Serial No. 75468701; Trademark Application
21    75/468,701; filed on April 16, 1998) (Trial Exhibit 34841).
22          12. No later than June 16, 1998, Trademark Application 75/468,701 was
23    available to the general public in the files of the PTO.
24          13. Exhibit 5.
25          14. As of November 15, 2000, the application of Rodney E. Cliff for the
26    registration of BRAT PACK AND DESIGN as a trademark for “Childrens
27    Doll/Back Packs, Childrens Clothing, Childrens Coloring Booksgames, toys, and
28    playthings” in International Class 28 was abandoned. See Exhibit 6 (printout from
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  1   TARR web server regarding status of Serial No. 75468701; generated on January 5,
  2   2011) (Trial Exhibit 34536).
  3         15. Exhibit 6.
  4         16. On or about March 2, 1998, The Jim Henson Company, Inc. of New
  5   York, New York and Hollywood, California filed an application for the registration
  6   of BRATS OF THE LOST NEBULA as a trademark for, among other things,
  7   “toys and games; action toys and accessories, including action figures, action figure
  8   accessories, role playing sets, figurines made of PVC, miniature figures and scene
  9   sets; toy vehicles, including radio and remote controlled vehicles, battery powered
10    vehicles, miniature vehicles, and non-powered vehicles; dolls; games, including
11    card games, dice games, strategy games, action games, travel games, and electronic
12    learning games; puzzles; Halloween costumes, balloons; novelty toys and electronic
13    novelty toys, including key chains and toy banks; activity toys, including building
14    sets, mechanical design toys, model kits and accessories; and play tents” in
15    International Class 28. See Exhibit 7 (copy of application for BRATS OF THE
16    LOST NEBULA; Serial No. 75442544; Trademark Application 75/442,544; filed
17    on March 2, 1998) (Trial Exhibit 34842).
18          17. No later than May 4, 1998, Trademark Application 75/442/544 was
19    available to the general public in the files of the PTO.
20          18. Exhibit 7.
21          19. As of August 6, 1999, the application of The Jim Henson Company, Inc.
22    for the registration of BRATS OF THE LOST NEBULA as a trademark for,
23    among other things, “toys and games; action toys and accessories, including action
24    figures, action figure accessories, role playing sets, figurines made of PVC,
25    miniature figures and scene sets; toy vehicles, including radio and remote
26    controlled vehicles, battery powered vehicles, miniature vehicles, and non-powered
27    vehicles; dolls; games, including card games, dice games, strategy games, action
28    games, travel games, and electronic learning games; puzzles; Halloween costumes,
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  1   balloons; novelty toys and electronic novelty toys, including key chains and toy
  2   banks; activity toys, including building sets, mechanical design toys, model kits and
  3   accessories; and play tents” in International Class 28 was abandoned. See Exhibit
  4   8 (printout from TARR web server regarding status of Serial No. 75442544;
  5   generated on January 5, 2011) (Trial Exhibit 34535).
  6         20. Exhibit 8.
  7         21. On or about January 26, 1996, 4 Kidz, Inc. of Stamford, Connecticut
  8   filed an application for the registration of LABBRATS AND DESIGN as a
  9   trademark for “games and playthings, namely fanciful novelty character playballs”
10    in International Class 28. See Exhibit 9 (copy of Trademark Application for
11    LABBRATS AND DESIGN; Serial No. 75052923; Trademark Application
12    75/052,923; filed on January 26, 1996) (Trial Exhibit 34843).
13          22. No later than March 26, 1996, Trademark Application 75/052,923 was
14    available to the general public in the files of the PTO.
15          23. Exhibit 9.
16          24. On or about June 3, 1997, LABBRATS AND DESIGN was registered
17    on the Principal Register as a trademark for “games and playthings, namely fanciful
18    novelty character playballs” in International Class 28. See Exhibit 10 (printout
19    from TARR web server regarding status of Serial No. 75052923; generated on
20    January 5, 2011) (Trial Exhibit 34526).
21          25. Exhibit 10.
22          26. On or about January 16, 1996, Lisa R. Consoli of San Diego, California
23    filed an application for the registration of BRATZ as a trademark for “snowboards”
24    in International Class 28. See Exhibit 11 (copy of Trademark Application for
25    BRATZ; Serial No. 75042551; Trademark Application 75/042,551; filed on
26    January 16, 1996) (Trial Exhibit 34844).
27          27. No later than March 18, 1996, Trademark Application 75/042,551 was
28    available to the general public in the files of the PTO.
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  1         28. Exhibit 11.
  2         29. On or about December 3, 1996, BRATZ was registered on the Principal
  3   Register as a trademark for “snowboards” in International Class 28. See Exhibit 12
  4   (printout from TARR web server regarding status of Serial No. 75042551;
  5   generated on January 5, 2011) (Trial Exhibit 34525).
  6         30. Exhibit 12.
  7         31. On or about March 28, 1994, The Toy Works, Inc. of Middle Falls, New
  8   York filed an application for the registration of BRAT BAT AND DESIGN as a
  9   trademark for “games and playthings, namely: soft dolls” in International Class 28.
10    See Exhibit 13 (copy of Trademark Application for BRAT BAT AND DESIGN;
11    Serial No. 74505891; Trademark Application 74/505,891; filed on March 28, 1994)
12    (Trial Exhibit 34845).
13          32. No later than May 30, 1994, Trademark Application 74/505,891 was
14    available to the general public in the files of the PTO.
15          33. Exhibit 13.
16          34. On or about February 14, 1995, BRAT BAT AND DESIGN was
17    registered on the Principal Register as a trademark for “games and playthings,
18    namely: soft dolls” in International Class 28. See Exhibit 14 (printout from TARR
19    web server regarding status of Serial No. 74505891; generated on January 5, 2011)
20    (Trial Exhibit 34518).
21          35. Exhibit 14.
22          36. On or about May 17, 1993, Darrow Publishing Co., Inc. of Mustang,
23    Oklahoma filed an application for the registration of MILITARY BRATS as a
24    trademark for, among other things, “dolls and collectible dolls” in International
25    Class 28. See Exhibit 15 (copy of Trademark Application for MILITARY
26    BRATS; Serial No. 74391218; Trademark Application 74/391,218; filed on May
27    17, 1993) (Trial Exhibit 34846).
28          37. No later than July 19, 1993, Trademark Application 74/391,218 was
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  1   available to the general public in the files of the PTO.
  2         38. Exhibit 15.
  3         39. As of July 5, 1996, the application of Darrow Publishing Co., Inc. for the
  4   registration of MILITARY BRATS as a trademark for, among other things, “dolls
  5   and collectible dolls” in International Class 28 was abandoned. See Exhibit 16
  6   (printout from Trademark Applications and Registrations Retrieval (“TARR”) web
  7   server regarding status of Serial No. 74391218; generated on January 5, 2011)
  8   (Trial Exhibit 34516).
  9         40. Exhibit 16.
10          41. On or about March 27, 1991, Pangea Corporation of Pasadena,
11    California filed an application for the registration of ARMY BRATS as a
12    trademark for, among other things, “toys, games and playthings” in International
13    Class 28. See Exhibit 17 (copy of Trademark Application for ARMY BRATS;
14    Serial No. 74152534; Trademark Application 74/152,534; filed on March 27, 1991)
15    (Trial Exhibit 34782).
16          42. No later than May 27, 1991, Trademark Application 74/152,534 was
17    available to the general public in the files of the PTO.
18          43. Exhibit 17.
19          44. On or about July 9, 1996, ARMY BRATS was registered on the
20    Principal Register as a trademark for “toys, games and playthings” in International
21    Class 28. See Exhibit 18 (printout from TARR web server regarding status of
22    Serial No. 7415234; generated on January 5, 2011) (Trial Exhibit 34509).
23          45. Exhibit 18.
24          46. On or about November 2, 1990, Nikko America, Inc. of Richardson,
25    Texas filed an application for the registration of BRAT as a trademark for “toy
26    vehicles – namely radio-controlled, battery-powered automobiles” in International
27    Class 28. See Exhibit 19 (copy of Trademark Application for BRAT; Serial No.
28    74111696; Trademark Application 74/111,696; filed on November 2, 1990) (Trial
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  1   Exhibit 34783).
  2         47. No later than January 2, 1991, Trademark Application 74/111,696 was
  3   available to the general public in the files of the PTO.
  4         48. Exhibit 19.
  5         49. As of January 14, 1992, the application of Nikko America, Inc. for the
  6   registration of BRAT as a trademark for “toy vehicles – namely radio-controlled,
  7   battery-powered automobiles” in International Class 28 was abandoned. See
  8   Exhibit 20 (printout from TARR web server regarding status of Serial No.
  9   74111696; generated on January 5, 2011) (Trial Exhibit 34505).
 10         50. Exhibit 20.
 11         51. On or about November 1, 1990, Catco, Inc. of New York, New York
 12   filed an application for the registration of BRAT AND DESIGN as a trademark for
 13   “balloon-type play balls” in International Class 28. See Exhibit 21 (copy of
 14   Trademark Application for BRAT AND DESIGN; Serial No. 74111347;
 15   Trademark Application 74/111,347; filed on November 1, 1990) (Trial Exhibit
 16   34785).
 17         52. No later than January 2, 1991, Trademark Application 74/111,696 was
 18   available to the general public in the files of the PTO.
 19         53. Exhibit 21.
 20         54. On or about June 9, 1992, BRAT AND DESIGN was registered on the
 21   Principal Register as a trademark for “balloon-type play balls” in International
 22   Class 28. See Exhibit 22 (printout from TARR web server regarding status of
 23   Serial No. 74111347; generated on January 5, 2011) (Trial Exhibit 34504).
 24         55. Exhibit 22.
 25         56. On or about November 16, 1989, Diversified Fashions Inc. of St. Louis,
 26   Missouri filed an application for the registration of SURF PACK BRATS as a
 27   trademark for “30 piece plush toy line” in International Class 28. See Exhibit 23
 28   (copy of Trademark Application for SURF PACK BRATS; Serial No. 74000239;
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  1   Trademark Application 74/000,239; filed on November 16, 1990) (Trial Exhibit
  2   34788).
  3         57. No later than January 16, 1990, Trademark Application 74/000,239 was
  4   available to the general public in the files of the PTO.
  5         58. Exhibit 23.
  6         59. As of October 3, 1990, the application of Diversified Fashions Inc. for
  7   the registration of SURF PACK BRATS as a trademark for “30 piece plush toy
  8   line” in International Class 28 was abandoned. See Exhibit 20 (printout from
  9   TARR web server regarding status of Serial No. 74000239; generated on January 5,
 10   2011) (Trial Exhibit 34497).
 11         60. Exhibit 24.
 12         61. On or about November 9, 1987, Combi Co., Ltd. of Tokyo, Japan filed
 13   an application for the registration of LI’L BRAT as a trademark for “ride-on toys”
 14   in International Class 28. See Exhibit 25 (copy of Trademark Application for LI’L
 15   BRAT; Serial No. 73694134; Trademark Application 73/694,134; filed on
 16   November 9, 1987) (Trial Exhibit 34786).
 17         62. No later than January 11, 1988, Trademark Application 73/694,134 was
 18   available to the general public in the files of the PTO.
 19         63. Exhibit 25.
 20         64. On or about June 7, 1988, LI’L BRAT was registered on the Principal
 21   Register as a trademark for “ride-on toys” in International Class 28. See Exhibit 26
 22   (printout from TARR web server regarding status of Serial No. 73694134;
 23   generated on January 5, 2011) (Trial Exhibit 34492).
 24         65. As of December 12, 1994, the registration of LI’L BRAT as a trademark
 25   for “ride-on toys” in International Class 28 was canceled. See Exhibit 26 (printout
 26   from TARR web server regarding status of Serial No. 73694134; generated on
 27   January 5, 2011) (Trial Exhibit 34492).
 28         66. Exhibit 26.
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  1         67. On or about November 16, 1998, The Attitude Guys of Chatsworth,
  2   California filed an application for the registration of SNOTTY BRAT as a
  3   trademark for “Womens Clothing for juniors which features, but is not limited to,
  4   skirts, dresses, shorts, jeans, tops, pants, vests, sweatshirts, and a ‘technical’ line of
  5   polar fleece outerwear which consists of cold weather sports attire, featuring, but
  6   not limited to, ski wear, cycling wear, mountain biking wear and polar fleece
  7   outerwear” in International Class 25. See Exhibit 27 (copy of Trademark
  8   Application for SNOTTY BRAT; Serial No. 75589855; Trademark Application
  9   75/589,855; filed on November 16, 1998) (Trial Exhibit 34820).
 10         68. No later than January 18, 1999, Trademark Application 75/589,855 was
 11   available to the general public in the files of the PTO.
 12         69. Exhibit 27.
 13         70. As of January 22, 2001, the application of The Attitude Guys for the
 14   registration of SNOTTY BRAT as a trademark for “Womens Clothing for juniors
 15   which features, but is not limited to, skirts, dresses, shorts, jeans, tops, pants, vests,
 16   sweatshirts, and a ‘technical’ line of polar fleece outerwear which consists of cold
 17   weather sports attire, featuring, but not limited to, ski wear, cycling wear, mountain
 18   biking wear and polar fleece outerwear” in International Class 25 was abandoned.
 19   See Exhibit 28 (printout from TARR web server regarding status of Serial No.
 20   75589855; generated on January 5, 2011) (Trial Exhibit 34543).
 21         71. Exhibit 28.
 22         72. On or about September 8, 1998, Khanh Pham of Plano, Texas filed an
 23   application for the registration of LITTLE BRAT as a trademark for “clothing for
 24   children” in International Class 25. See Exhibit 29 (copy of Trademark
 25   Application for LITTLE BRAT; Serial No. 75549219; Trademark Application
 26   75/549219; filed on September 8, 1998) (Trial Exhibit 34819).
 27         73. No later than November 9, 1998, Trademark Application 75/549,219 was
 28   available to the general public in the files of the PTO.
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  1         74. Exhibit 29.
  2         75. On or about September 28, 1999, LITTLE BRAT was registered on the
  3   Principal Register as a trademark for “clothing for children” in International Class
  4   25. See Exhibit 30 (printout from TARR web server regarding status of Serial No.
  5   75549219; generated on January 5, 2011) (Trial Exhibit 34542).
  6         76. Exhibit 30.
  7         77. On or about February 8, 1993, Vertical Productions by Team Design,
  8   Inc. of Ronkonkoma, New York filed an application for the registration of
  9   SPOILED BRAT as a trademark for “clothing, namely; sports and leisure wear,
 10   shorts, pants, shirts, t-shirts, jerseys, tights, socks, jackets, sweaters, caps and hats,
 11   pullovers, and warm-up suits” in International Class 25. See Exhibit 31 (copy of
 12   Trademark Application for SPOILED BRAT; Serial No. 74356429; Trademark
 13   Application 74/356,429; filed on February 8, 1993) (Trial Exhibit 34835).
 14         78. No later than April 8, 1993, Trademark Application 74/356,429 was
 15   available to the general public in the files of the PTO.
 16         79. Exhibit 31.
 17         80. On or about March 8, 1994, SPOILED BRAT was registered on the
 18   Principal Register as a trademark for “clothing, namely; sports and leisure wear,
 19   shorts, pants, shirts, t-shirts, jerseys, tights, socks, jackets, sweaters, caps and hats,
 20   pullovers, and warm-up suits” in International Class 25. See Exhibit 32 (printout
 21   from TARR web server regarding status of Serial No. 74356429; generated on
 22   January 5, 2011) (Trial Exhibit 34514).
 23         81. Exhibit 32.
 24         82. On or about March 25, 1992, Martine Van Hest of Exton, Pennsylvania
 25   filed an application for the registration of SPOILED BRATS CLUB as a
 26   trademark for “children clothing and accessories namely T-shirts, pants, shoes,
 27   socks and hats” in International Class 25, and “childrens furniture and accessories
 28   namely armoires, dressers, bookcases, mirrors, frames and cutouts” in International
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  1   Class 20. See Exhibit 33 (copy of Trademark Application for SPOILED BRATS
  2   CLUB; Serial No. 74258941; Trademark Application 74/258,941; filed on March
  3   25, 1992) (Trial Exhibit 34836).
  4         83. No later than May 25, 1992, Trademark Application 74/258,941 was
  5   available to the general public in the files of the PTO.
  6         84. Exhibit 33.
  7         85. As of August 26, 1993, the application of Martine Van Hest for the
  8   registration of SPOILED BRATS CLUB as a trademark for “children clothing and
  9   accessories namely T-shirts, pants, shoes, socks and hats” in International Class 25,
 10   and “childrens furniture and accessories namely armoires, dressers, bookcases,
 11   mirrors, frames and cutouts” in International Class 20 was abandoned. See Exhibit
 12   34 (printout from TARR web server regarding status of Serial No. 74258941;
 13   generated on January 5, 2011) (Trial Exhibit 34513).
 14         86. Exhibit 34.
 15         87. On or about December 24, 1990, Vertical Productions by Team Design,
 16   Inc. of Ronkonkoma, New York filed an application for the registration of
 17   SPOILED BRAT as a trademark for “clothing” in International Class 25. See
 18   Exhibit 35 (copy of Trademark Application for SPOILED BRAT; Serial No.
 19   74126258; Trademark Application 74/126,258; filed on December 24, 1990) (Trial
 20   Exhibit 34837).
 21         88. No later than February 25, 1991, Trademark Application 74/126,258 was
 22   available to the general public in the files of the PTO.
 23         89. Exhibit 35.
 24         90. On or about February 23, 1993, SPOILED BRAT was registered on the
 25   Principal Register as a trademark for “clothing” in International Class 25. See
 26   Exhibit 36 (printout from TARR web server regarding status of Serial No.
 27   74126258; generated on January 5, 2011) (Trial Exhibit 34508).
 28         91. As of August 30, 1999, the registration of SPOILED BRAT as a
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  1   trademark for “clothing” in International Class 25 was canceled. See Exhibit 36
  2   (printout from TARR web server regarding status of Serial No. 74126258;
  3   generated on January 5, 2011) (Trial Exhibit 34508).
  4         92. Exhibit 36.
  5         93. On or about August 10, 1990, Brat Wear, Inc. of Leominster,
  6   Massachusetts filed an application for the registration of BRAT WEAR as a
  7   trademark for “children’s clothing” in International Class 25. See Exhibit 37 (copy
  8   of Trademark Application for BRAT WEAR; Serial No. 74086939; Trademark
  9   Application 74/086,939; filed on August 10, 1990) (Trial Exhibit 34838).
 10         94. No later than October 10, 1990, Trademark Application 74/086,939 was
 11   available to the general public in the files of the PTO.
 12         95. Exhibit 37.
 13         96. As of July 30, 1991, the application of Brat Wear, Inc. for the
 14   registration of BRAT WEAR as a trademark for “children’s clothing” in
 15   International Class 25 was abandoned. See Exhibit 38 (printout from TARR web
 16   server regarding status of Serial No. 74086939; generated on January 5, 2011)
 17   (Trial Exhibit 34503).
 18         97. Exhibit 38.
 19         98. On or about October 8, 1986, Henway Apparel, Inc. of New York, New
 20   York filed an application for the registration of BRATZ as a trademark for
 21   “children’s apparel, shirts and pants-knits” (later modified to “children’s apparel,
 22   namely knit shirts, pants and jackets”) in International Class 25. See Exhibit 39
 23   (copy of Trademark Application for BRATZ; Serial No. 73624645; Trademark
 24   Application 73/624,645; filed on October 8, 1986) (Trial Exhibit 34839); Exhibit
 25   40 (printout from TARR web server regarding status of Serial No. 73624645;
 26   generated on January 5, 2011) (Trial Exhibit 34491).
 27         99. No later than December 8, 1986, Trademark Application 73/624,645 was
 28   available to the general public in the files of the PTO.
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  1         100. Exhibit 39.
  2         101. As of February 16, 1990, the application of Henway Apparel, Inc. for
  3   the registration of BRATZ as a trademark for “children’s apparel, namely knit
  4   shirts, pants and jackets” in International Class 25 was abandoned. See Exhibit 40
  5   (printout from TARR web server regarding status of Serial No. 73624645;
  6   generated on January 5, 2011) (Trial Exhibit 34491).
  7         102. Exhibit 40.
  8         103. On or about September 26, 1986, Sue & Sam Co., Inc. of Brooklyn,
  9   New York filed an application for the registration of BRATZ as a trademark for
 10   “Children’s sportswear” (later modified to “Children’s knitwear namely knit shirts,
 11   sweat suits, sweat pants, skirts, knit dresses, slacks sets”) in International Class 25.
 12   See Exhibit 41 (copy of Trademark Application for BRATZ; Serial No. 73622318;
 13   Trademark Application 73/622,318; filed on September 26, 1986) (Trial Exhibit
 14   34840); Exhibit 42 (printout from TARR web server regarding status of Serial No.
 15   73622318; generated on January 5, 2011) (Trial Exhibit 34490).
 16         104. No later than November 26, 1986, Trademark Application 73/622,318
 17   was available to the general public in the files of the PTO.
 18         105. Exhibit 41.
 19         106. As of February 22, 1989, the application of Sue & Sam Co., Inc. for the
 20   registration of BRATZ as a trademark for “Children’s knitwear namely knit shirts,
 21   sweat suits, sweat pants, skirts, knit dresses, slacks sets” in International Class 25
 22   was abandoned. See Exhibit 42 (printout from TARR web server regarding status
 23   of Serial No. 73622318; generated on January 5, 2011) (Trial Exhibit 34490).
 24         107. Exhibit 42.
 25         108. On or about April 5, 1982, Gallery Industries of Los Angeles,
 26   California filed an application for the registration of B.R.A.T.S. as a trademark for
 27   “Mens and Boys shirts” in International Class 25. See Exhibit 43 (copy of
 28   Trademark Application for B.R.A.T.S.; Serial No. 73358460; Trademark
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  1   Application 73/358,460; filed on April 5, 1982) (Trial Exhibit 34787).
  2         109. No later than June 7, 1982, Trademark Application 73/358,460 was
  3   available to the general public in the files of the PTO.
  4         110. Exhibit 43.
  5         111. On or about July 19, 1983, B.R.A.T.S. was registered on the Principal
  6   Register as a trademark for “Mens and Boys shirts” in International Class 25. See
  7   Exhibit 44 (printout from TARR web server regarding status of Serial No.
  8   73358460; generated on January 5, 2011) (Trial Exhibit 34486).
  9         112. As of October 10, 1990, the registration of B.R.A.T.S. as a trademark
 10   for “Mens and Boys shirts” in International Class 25 was canceled. See Exhibit 44
 11   (printout from TARR web server regarding status of Serial No. 73358460;
 12   generated on January 5, 2011) (Trial Exhibit 34486).
 13         113. Exhibit 44.
 14         114. On or about July 29, 1999, Paula B. Guerin of Plaquemine, Louisiana
 15   registered BRATS AND LOGO: EACH LETTER MULTI-COLORED –
 16   COLOERED LINE LEADING TO CRAYON as a trademark for “Dolls” in
 17   Class 35, Miscellaneous with the Louisiana Secretary of State. See Exhibit 45
 18   (copy of Trademark Application for BRATS AND LOGO: EACH LETTER
 19   MULTI-COLORED – COLORED LINE LEADING TO CRAYON) (Trial
 20   Exhibit 35223).
 21         115. No later than September 29, 1999, the registration of Paula B. Guerin of
 22   BRATS AND LOGO: EACH LETTER MULTI-COLORED – COLORED
 23   LINE LEADING TO CRAYON was available to the general public in the files of
 24   the Louisiana Secretary of State.
 25   Dated: February 8, 2011             ORRICK, HERRINGTON & SUTCLIFFE LLP
 26
                                          By:            /s/_Annette L. Hurst____
 27                                                         ANNETTE L. HURST
                                                          Attorneys for MGA Parties
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